Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 1 of 28 PageID: 242



                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY

 ______________________________________
                                       :
 MARY LAVERTY                          :
 Long Beach Twp., NJ 08008             :
                                       :
                           Plaintiff,  :
                                       :
               v.                      :             CIVIL ACTION NO. 18-1323
                                       :
 COX AUTOMOTIVE, INC.                  :
 6205 Peachtree Dunwoody Road          :
 Atlanta, GA 30328                     :
                                       :
               and                     :
                                       :
 AUTOTRADER.COM, INC.                  :
 6205 Peachtree Dunwoody Road          :
 Atlanta, GA 30328                     :
                                       :
                           Defendants. :             JURY TRIAL DEMANDED
 ______________________________________:

                                   AMENDED COMPLAINT

 I.     INTRODUCTION

        Plaintiff, Mary Laverty (“Plaintiff”), brings this action against her former employers, Cox

 Automotive, Inc., and AutoTrader.com, Inc. (collectively “Defendants”). Following a pattern of

 discrimination and retaliation based on a Plaintiff’s sex, age and her complaints of same, and for

 exercising her right to protected medical leave, Defendants terminated Plaintiff’s employment on

 February 17, 2017, after over 16 years of excellent performance and customer service. After

 filing Charges of Discrimination with the EEOC against Defendants, Plaintiff was given an

 unwarranted negative performance evaluation, denied commissions earned, placed on a

 performance improvement plan, and subsequently terminated at the age of 53—just 9 days after

 Defendants became aware of the filing of Plaintiff’s third Charge of Discrimination.


                                                 2
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 2 of 28 PageID: 243



        Plaintiff asserts claims of discrimination and retaliation against Defendants in violation of

 the Age Discrimination in Employment Act, as amended, 29 U.S.C. § 621, et seq. (“ADEA”),

 Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”),

 and the New Jersey Law Against Discrimination, as amended, N.J.S.A. 10:-5-1 et seq.

 (“NJLAD”). Plaintiff also asserts a claim of retaliation against Defendants in violation of the

 Family and Medical Leave Act, 29 U.S.C. § 2601, et seq. (“FMLA”). Plaintiff seeks all damages,

 including economic loss, compensatory, liquidated and punitive damages, her attorney’s fees and

 costs, and all other available relief under applicable federal and state law as this Court deems

 appropriate.

 II.    PARTIES

        1.      Plaintiff is a female individual and citizen of the State of New Jersey.

        2.      At all times material hereto, Plaintiff was over the age of forty (40).

        3.      At all times material hereto, Plaintiff worked remotely from her home office,

 located in the State of New Jersey.

        4.      At all times material hereto, Plaintiff was an “employee” of Defendants within the

 meaning of the statutes which form the bases of this matter.

        5.      Defendant Cox Automotive, Inc., is a Delaware corporation with a principal place

 of business located at 6205 Peachtree Dunwoody Road, Atlanta, Georgia 30328.

        6.      Defendant Autotrader.com, Inc., is a Delaware corporation with a principal place

 of business located at 6205 Peachtree Dunwoody Road, Atlanta, Georgia 30328.

        7.      Defendants are engaged in an industry affecting interstate commerce and, at all

 relevant times, has regularly conducted business in the State of New Jersey.

        8.      At all times material hereto, Defendants acted as “employers” within the meaning



                                                  3
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 3 of 28 PageID: 244



 of the statutes which form the bases of this matter.

        9.      At all times material hereto, Defendants each employed more than fifty (50)

 individuals within a seventy-five (75) mile radius of Plaintiff’s primary reporting office in

 Atlanta, GA.

        10.     At all times material hereto, Defendants acted by and through their authorized

 agents, servants, workmen, and/or employees acting within the course and scope of their

 employment with Defendants and in furtherance of Defendants’ business.

        11.     At all times material hereto, Defendants employed at least twenty (20)

 individuals.

        12.     Plaintiff was employed for at least twelve hundred and fifty (1,250) hours of

 service during her last twelve (12) months period of employment and at the time she last went on

 an FMLA leave.

 III.   JURISDICTION AND VENUE

        13.     The causes of action which form the bases of this matter arise under the ADEA,

 Title VII, the FMLA, and the NJLAD.

        14.     The District Court has jurisdiction over the action pursuant to 28 U.S.C. §

 1332(a), in that the Plaintiff and Defendants are of diverse citizenship and the amount in

 controversy exceeds $75,000, exclusive of interest and costs, and 28 U.S.C. § 1331, in that

 Plaintiff has alleged violations of federal law.

        15.     The District Court has jurisdiction over Count I (ADEA) pursuant to 29 U.S.C.

 § 626(c), 28 U.S.C. § 1331, and 28 U.S.C. § 1332(a).

        16.     The District Court has jurisdiction over Count II (Title VII) pursuant to 42 U.S.C.

 § 2000e-5 and 28 U.S.C. § 1331, and 28 U.S.C. § 1332(a).



                                                    4
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 4 of 28 PageID: 245



        17.     The District Court has jurisdiction over Count III (FMLA) pursuant to 29 U.S.C.

 § 2617(a)(2) and 28 U.S.C. § 1331, and 28 U.S.C. § 1332(a).

        18.     The District Court also has jurisdiction over Count IV (NJLAD) pursuant to 28

 U.S.C. § 1367(a).

        19.     Venue is proper in the District Court under 28 U.S.C. § 1391(b)(2) because a

 substantial part of the events or omissions giving rise to the claims occurred within this District.

        20.     On or about October 6, 2016, Plaintiff filed her first Charge of Discrimination

 with the Equal Employment Opportunity Commission (“EEOC”), complaining of acts of

 discrimination and retaliation alleged herein (the “First Charge”). Attached hereto, incorporated

 herein, and marked as Exhibit A is a true and correct copy of the First Charge.

        21.     On or about February 7, 2017, Plaintiff filed her second Charge of Discrimination

 with the Equal Employment Opportunity Commission (“EEOC”), complaining of acts of

 discrimination and retaliation alleged herein (the “Second Charge”). Attached hereto,

 incorporated herein, and marked as Exhibit B is a true and correct copy of the Second Charge.

        22.     On or about February 28, 2017, Plaintiff filed her third Charge of Discrimination

 with the Equal Employment Opportunity Commission (“EEOC”), complaining of acts of

 discrimination and retaliation alleged herein (the “Third Charge”). Attached hereto, incorporated

 herein, and marked as Exhibit C is a true and correct copy of the Third Charge.

        23.     On November 1, 2017, the EEOC issued a Notice of Right to Sue to Plaintiff for

 the First Charge, Second Charge, and Third Charge.

        24.     Plaintiff has fully complied with all administrative prerequisites for the

 commencement of this action.




                                                   5
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 5 of 28 PageID: 246



 IV.        FACTUAL ALLEGATIONS

            25.      Defendants hired Plaintiff in or around September of 2000 as an Advertising

 Consultant.

            26.      Throughout her tenure at Defendants, Plaintiff exhibited excellent performance

 and customer service.

            27.      In 2003, Plaintiff was named the best salesperson in the country by Defendants.

            28.      In or about September of 2015, Defendants announced that Plaintiff would be

 reporting directly to David Mauger (“Mauger”) (male, 43), 1 District Sales Manager, as of

 October 1, 2015.

            29.      Plaintiff began reporting to Mauger on or about October 1, 2015.

            30.      Plaintiff was the oldest Advertising Consultant reporting to Mauger.

            31.      At the time that Plaintiff reported to Mauger, Plaintiff was warned about Mauger

 by another female employee who previously reported to him, who said that she felt that Mauger

 targeted her for termination due to her sex.

            32.      On or about October 6, 2015, six days after becoming Plaintiff’s supervisor,

 Mauger gave Plaintiff a verbal warning purportedly due to the cancellation of a client account

 and issues with her “overall performance.”

            33.      Immediately after Plaintiff began reporting to Mauger, she was subjected to

 harsher treatment than her male and younger co-workers. For example:

                     a.       Plaintiff’s younger male co-worker, Oric Cortez (“Cortez”) (male, 45),

            Advertising Consultant, did not receive a verbal warning although he suffered a larger

            amount of customer cancellations in the same month as Plaintiff;

                     b.       another one of Plaintiff’s younger male co-workers, Vincent Lotito

 1
     All ages herein are approximations.

                                                      6
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 6 of 28 PageID: 247



         (“Lotito”) (male, 42), Advertising Consultant, failed to meet his sales goal for November

         of 2015, but was not subjected to any disciplinary action; and

                c.      on or about November 16, 2015, at a team meeting, Mauger repeatedly

         disregarded Plaintiff’s input and suggestions in favor of male and younger team members

         and isolated her from the group.

         34.    In or around early, January of 2016, Plaintiff received a negative annual

 performance evaluation from Mauger that unfairly criticized her 2015 performance, including

 penalizing her for a lack of sales while she was out on protected FMLA leave in the spring of

 2015.

         35.    Between October 1, 2015 and December 31, 2015, Mauger interfered with efforts

 to meet her annual goals and earn commissions, including, but not limited to, by refusing to

 approve several customer deals negotiated by Plaintiff.

         36.    On or about March 3, 2016, without prior any notice or warning, Mauger

 informed Plaintiff that he was reassigning one of her client accounts to Brittney Thieme

 (“Thieme”) (female, 27).

         37.    On or about April 6, 2016, at her request, Plaintiff met with Mike Tegtmeyer

 (“Tegtmeyer”) (male, 40), Regional Sales Director, and Mauger regarding her ongoing concerns

 of Mauger’s persistent harassment, micromanagement, and unwarranted criticism of Plaintiff.

         38.    At the April 6, 2016 meeting, Plaintiff was informed that she would begin

 reporting to Cindy Sherman (“Sherman”) (female, 44), Philadelphia District Sales Manager,

 beginning on May 1, 2016.

         39.    Although Plaintiff began reporting to Sherman, Plaintiff had one outstanding deal

 that required her to continue to work with Mauger, but he hindered Plaintiff efforts to close the



                                                  7
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 7 of 28 PageID: 248



 outstanding deal and earn any commissions on the sale.

        40.       On June 3, 2016, as a result of work-related stress, Plaintiff began a six-week

 FMLA leave.

        41.       On July 13, 2016, Plaintiff’s doctor extended her FMLA leave for another six-

 weeks until August 25, 2016.

        42.       In advance of Plaintiff’s return to work, Sherman scheduled a meeting with

 Plaintiff on August 24, 2016, to discuss her return.

        43.       During the August 24, 2016 meeting, Sherman expressed resentment that Plaintiff

 had taken FMLA leave.

        44.       In the August 24, 2016 meeting, Sherman questioned why Plaintiff did not

 communicate with her during Plaintiff’s FMLA leave and told Plaintiff that she “left [Sherman]

 high and dry.”

        45.       In the August 24, 2016 meeting, Sherman repeatedly questioned Plaintiff

 regarding the nature of her FMLA leave and asked Plaintiff if she suffered “a nervous

 breakdown.”

        46.       In the August 24, 2016 meeting, Sherman informed Plaintiff that she “could be

 fired at any time.”

        47.       Upon Plaintiff’s return to work, Plaintiff was subjected to retaliation and a hostile

 work environment.

        48.       After Plaintiff returned to work from her FMLA leave, Defendants transferred

 Plaintiff’s customer accounts to other team members.

        49.       After Plaintiff returned to work from her FMLA leave, Defendants required

 Plaintiff to perform tasks not required of other employees who did not take FMLA leave.



                                                    8
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 8 of 28 PageID: 249



          50.    After Plaintiff returned to work from her FMLA leave, Defendants required that

 Plaintiff send her presentations to Sherman prior to every client meeting.

          51.    After Plaintiff returned to work from her FMLA leave, Defendants required

 access to Plaintiff’s work calendar.

          52.    After Plaintiff returned to work from her FMLA leave, Defendants prohibited

 Plaintiff from meeting with clients outside of scheduled appointments.

          53.    After Plaintiff returned to work from her FMLA leave, Defendants required

 Plaintiff to email another team member, Steve Ryan (male, 38), for pricing before submitting

 offers to clients.

          54.    On September 27, 2016, Plaintiff sent an email to Mai White (“White” ) (female,

 50), HR Business Partner, requesting a meeting with White, Tegtmeyer and Sherman

 complaining of the retaliation she was experiencing since returning to work from her FMLA

 leave.

          55.    On or about October 4, 2016, Plaintiff was informed by Defendants that she

 would not receive any commissions for the month of September.

          56.    On October 6, 2016, Plaintiff filed the First Charge with the EEOC.

          57.    On or about October 11, 2016, Defendants became aware that Plaintiff had filed

 the First Charge.

          58.    Subsequently, on December 19, 2016, Plaintiff received an unwarranted negative

 performance evaluation from Defendants.

          59.    On January 20, 2017, Plaintiff received an email from Sherman unjustly

 criticizing Plaintiff’s work performance and informing her that she was being placed on a 30-day

 performance improvement plan (PIP).



                                                  9
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 9 of 28 PageID: 250



        60.      On February 2, 2017, Plaintiff filed the Second Charge with the EEOC.

        61.      On or about February 3, 2017, Defendants became aware that Plaintiff had filed

 the Second Charge.

        62.      On February 17, 2017, at a meeting with Sherman and White, Defendants

 terminated Plaintiff’s employment, effectively immediately.

        63.      On February 27, 2017, Plaintiff filed the Third Charge with the EEOC.

        64.      Defendants’ stated reason for terminating Plaintiff was a failure to meet job

 expectations.

        65.      As of the time of her termination, Plaintiff had exceeded the requirements of the

 PIP and was adequately performing her job duties and responsibilities.

        66.      Defendants’ stated reason for terminating Plaintiff’s employment was pretext for

 discrimination and retaliation.

        67.      Plaintiff’s age was a substantial, motivating, and/or determinative factor in

 Defendants’ discriminatory treatment of Plaintiff, including, but not limited to, the hostile work

 environment to which she was subjected and her termination.

        68.      Plaintiff’s sex was a substantial, motivating, and/or determinative factor in

 Defendants’ discriminatory treatment of Plaintiff, including, but not limited to, the hostile work

 environment to which she was subjected and her termination.

        69.      Plaintiff’s FMLA leave was a motivating factor in Defendants’ discriminatory

 treatment of Plaintiff, including, the hostile work environment to which she was subjected and

 her termination.

        70.      Plaintiff engaged in protected activity by complaining of age and sex

 discrimination and FMLA retaliation.



                                                 10
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 10 of 28 PageID: 251



           71.   Plaintiff’s complaints of discrimination and retaliation were a substantial,

 motivating, and/or determinative factor in Defendants’ discriminatory and retaliatory treatment

 of Plaintiff, including, but not limited to, the hostile work environment to which she was

 subjected and her termination.

           72.   Defendants failed to prevent or address the harassing and discriminatory conduct

 referred to herein and further failed to take corrective and remedial measures to make the

 workplace free of harassing and discriminatory.

           73.   Defendants retaliated against Plaintiff for exercising her right to take FMLA

 leave.

           74.   As a direct and proximate result of the discriminatory and retaliatory conduct of

 Defendants, and the hostile work environment to which she was subjected, Plaintiff has in the

 past incurred, and may in the future incur, a loss of earnings and/or earning capacity, loss of

 benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem, mental anguish,

 and loss of life’s pleasures, the full extent of which is not known at this time.

           75.   The conduct of Defendants, as set forth above, was severe or pervasive enough to

 make a reasonable person believe that the conditions of employment are altered and the working

 environment is hostile or abusive.

           76.   Defendants acted with malice and/or reckless indifference to Plaintiff’s protected

 rights.

           77.   The conduct of Defendants, as set forth above, was especially egregious and done

 by and with knowledge of upper management, and warrants the imposition of punitive damages

 against Defendants.

           78.   The conduct of Defendants, as set forth above, was willful and warrants the



                                                   11
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 11 of 28 PageID: 252



 imposition of liquidated damages against Defendants.

                                         COUNT I – ADEA

         79.     Plaintiff incorporates herein by reference paragraph 1 through 78 above, as if set

 forth herein in their entirety.

         80.     By committing the foregoing acts of discrimination and retaliation against

 Plaintiff, Defendants violated the ADEA.

         81.     Said violations were willful and warrant the award of liquidated damages.

         82.     As a direct and proximate result of Defendants’ violation of the ADEA, Plaintiff

 has suffered the injuries, damages, and losses set forth herein and has incurred attorney’s fees

 and costs.

         83.     Plaintiff is now suffering and will continue to suffer irreparable injury and

 monetary damages as a result of Defendants’ discriminatory and retaliatory acts unless and until

 this Court grants the relief requested herein.

         84.     No previous application has been made for the relief requested herein.

                                      COUNT II – TITLE VII

         85.     Plaintiff incorporates herein by reference paragraphs 1 through 84 above, as if set

 forth herein in their entirety.

         86.     By committing the foregoing acts of discrimination and retaliation against

 Plaintiff, Defendants violated Title VII.

         87.     Said violations were intentional, and with malice and/or reckless indifference to

 Plaintiff’s rights, and warrant the imposition of punitive damages.




                                                  12
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 12 of 28 PageID: 253



         88.     As a direct and proximate result of Defendants’ violation of Title VII, Plaintiff

 has sustained the injuries, damages, and losses set forth herein and has incurred attorney’s fees

 and costs.

         89.     Plaintiff is now suffering and will continue to suffer irreparable injury and

 monetary damages as a result of Defendants’ discriminatory acts unless and until this Court

 grants the relief requested herein.

         90.     No previous application has been made for the relief requested herein.

                                       COUNT III – FMLA

         91.     Plaintiff incorporates herein by reference paragraph 1 through 90 above, as if set

 forth herein in their entirety.

         92.     By committing the foregoing acts of retaliation against Plaintiff, Defendants has

 violated the FMLA.

         93.     As a result of Defendants’ retaliation against Plaintiff for exercising her right to

 take leave, Defendants denied Plaintiff her rights under the FMLA.

         94.     Said violations were not in good faith, and Defendants did not have reasonable

 grounds to believe that the foregoing acts were not in violation of the FMLA, thereby warranting

 the imposition of liquidated damages.

         95.     As a direct and proximate result of Defendants’ violation of the FMLA, Plaintiff

 has suffered the injuries, damages, and losses set forth herein and has incurred attorney’s fees

 and costs.

         96.     Plaintiff is now suffering and will continue to suffer irreparable injury and

 monetary damages as a result of Defendants’ violations of the FMLA unless and until this Court

 grants the relief requested herein.



                                                  13
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 13 of 28 PageID: 254



         97.     No previous application has been made for the relief requested herein.

                                       COUNT IV – NJLAD

         98.     Plaintiff incorporates herein by reference paragraph 1 through 97 above, as if set

 forth herein in their entirety.

         99.     By committing the foregoing acts of discrimination and retaliation against

 Plaintiff, Defendants violated the NJLAD.

         100.    Members of upper management of Defendants had actual participation in, or

 willful indifference to, Defendants’ wrongful conduct set forth herein.

         101.    Said violations were especially egregious and warrant the imposition of punitive

 damages.

         102.    As a direct and proximate result of Defendants’ violation of the NJLAD, Plaintiff

 has suffered the injuries, damages, and losses set forth herein and has incurred attorney’s fees

 and costs.

         103.    Plaintiff is now suffering and will continue to suffer irreparable injury and

 monetary damages as a result of Defendants’ discriminatory and retaliatory acts, and the hostile

 work environment to which she was subjected unless and until this Court grants the relief

 requested herein.

         104.    No previous application has been made for the relief requested herein.

                                              RELIEF

         WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

 Defendants’ improper conduct, and specifically prays that this Court grant the following relief to

 Plaintiff by:

         (a)     declaring the acts and practices complained of herein to be in violation of



                                                 14
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 14 of 28 PageID: 255



             the ADEA;

       (b)   declaring the acts and practices complained of herein to be in violation of

             Title VII;

       (c)   declaring the acts and practices complained of herein to be in violation of

             the FMLA;

       (d)   declaring the acts and practices complained of herein to be in violation of

             the NJLAD;

       (e)   enjoining and permanently restraining the violations alleged herein;

       (f)   entering judgment against Defendants and in favor of Plaintiff in an amount to be

             determined;

       (g)   awarding compensatory damages to make Plaintiff whole for all lost earnings,

             earning capacity and benefits, past and future, which Plaintiff has suffered or may

             suffer as a result of Defendants’ improper conduct;

       (h)   awarding compensatory damages to Plaintiff for past and future pain and

             suffering, emotional upset, mental anguish, humiliation, and loss of life’s

             pleasures, which Plaintiff has suffered or may suffer as a result of Defendants’

             improper conduct;

       (i)   awarding liquidated damages to Plaintiff under the ADEA and the FMLA;

       (j)   awarding punitive damages to Plaintiff under Title VII and the NJLAD;

       (k)   awarding Plaintiff such other damages as are appropriate under the ADEA, Title

             VII, the FMLA, and the NJLAD;

       (l)   awarding Plaintiff the costs of suit, expert fees and other disbursements, and

             reasonable attorney’s fees; and



                                               15
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 15 of 28 PageID: 256



       (m)    granting such other and further relief as this Court may deem just, proper, or

              equitable including other equitable and injunctive relief providing restitution for

              past violations and preventing future violations.


                                                    CONSOLE MATTIACCI LAW, LLC

                                            By:     /s/ Fernando I. Rivera
                                                    FERNANDO I. RIVERA, ESQ.
                                                    110 Marter Ave., Suite 502
                                                    Moorestown, New Jersey 08157

                                                    Attorneys for Plaintiff

 Dated: 2/25/2019
        2/26/19




                                               16
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 16 of 28 PageID: 257




                  Exhibit A
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 17 of 28 PageID: 258
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 18 of 28 PageID: 259
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 19 of 28 PageID: 260
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 20 of 28 PageID: 261
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 21 of 28 PageID: 262
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 22 of 28 PageID: 263




                  Exhibit B
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 23 of 28 PageID: 264
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 24 of 28 PageID: 265
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 25 of 28 PageID: 266




                  Exhibit C
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 26 of 28 PageID: 267
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 27 of 28 PageID: 268
Case 3:18-cv-01323-FLW-ZNQ Document 28 Filed 02/26/19 Page 28 of 28 PageID: 269


                                 CERTIFICATE OF SERVICE

        I, Fernando I. Rivera, Esquire, hereby certify that a true and correct copy of the foregoing

 has been electronically filed this 26th day of February, 2019, and is available for viewing and

 downloading from the Court’s Electronic Case System (ECF) system. A copy of the foregoing has

 been served on the following counsel of record via the ECF system:

                                   Lindsay M. Sorin, Esquire
                                   Rachel A. Seaton, Esquire
                                 LITTLER MENDELSON, P.C.
                                      One Newark Center
                                 1085 Raymond Blvd., 8th Floor
                                   Newark, New Jersey 07102
                                      LSorin@littler.com
                                     RSeaton@littler.com

                                     Russell Jones, Esquire
                                 LITTLER MENDELSON, P.C.
                              3344 Peachtree Road, N.E., Suite 1500
                                     Atlanta, Georgia 30326
                                      RAJones@littler.com

                                     Attorneys for Defendants



                                                      CONSOLE MATTIACCI LAW, LLC

                                              BY:     /s/ Fernando I. Rivera
                                                      FERNANDO I. RIVERA
                                                      101 Marter Ave., Suite 502
                                                      Moorestown, New Jersey 08057
                                                      Phone: (215) 545-7676
                                                      Direct Fax: (215) 754-4938
                                                      Rivera@consolelaw.com

 Dated: February 26, 2019                             Attorneys for Plaintiff
